      Case 1:16-cr-02006-EFS     ECF No. 887   filed 11/04/20   PageID.3778 Page 1 of 2



                                                                                   FILED IN THE
 1                                                                             U.S. DISTRICT COURT
                                                                         EASTERN DISTRICT OF WASHINGTON

 2
                                                                         Nov 04, 2020
 3                                                                            SEAN F. MCAVOY, CLERK


 4                        UNITED STATES DISTRICT COURT
 5                      EASTERN DISTRICT OF WASHINGTON
 6
 7   UNITED STATES OF AMERICA,                      No. 2:16-CR-02006-EFS-11

 8                       Plaintiff,                 ORDER DENYING DEFENDANT’S
 9                                                  MOTION TO MODIFY RELEASE
                         v.                         CONDITIONS
10
11   KRISTINA DAWN RUSSETTE,                        MOTION DENIED
                                                     (ECF No. 886)
12
                         Defendant.
13
14         Before the Court is Defendant’s Motion to Modify Conditions of Release,
15   ECF No. 886, pending her December 2, 2020 supervised release revocation
16   hearing. Defendant recites in her motion that both the United States and U.S.
17   Probation oppose this request.
18         The Court has considered Defendant’s motion at ECF No. 886, the Petitions
19   at ECF Nos. 843, 881, and the report of the probation officer at ECF No. 878.
20         Defendant specifically requests to either be relieved of the present location
21   monitoring and home detention requirements or be allowed to freely leave her
22   home during daytime hours. Defendant argues that the COVID-19 pandemic has
23   intensified the isolation and loneliness already occasioned by home confinement.
24         This Court has previously found that Defendant’s recent history and the
25   circumstances associated with the alleged supervision violations merit the
26   conditions imposed. The self-isolation and social distancing necessitated by the
27   COVID-19 pandemic do not impose greater isolation than the existing release
28   conditions, or greater than many other citizens are experiencing.



     ORDER - 1
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 1       Accordingly, IT IS ORDERED Defendant’s Motion, ECF No. 886, is
 2   DENIED.
 3       IT IS SO ORDERED.
 4       DATED November 4, 2020.
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 6                            _____________________________________
                                        JOHN T. RODGERS
 7                             UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
